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                        THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

                       COURT FILE NO.: 1:15-cv-01057-PAB-MEH

   Edgar Rivera, on behalf of himself and all others similarly situated,
         Plaintiff,

   v.

   Exeter Finance Corp.,
          Defendant.
   ________________________________________________________________________

      JOINT STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE
   ________________________________________________________________________

          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties in this matter, through their

   undersigned counsel, stipulate and agree to voluntarily dismiss this matter with prejudice,

   with each party to bear its own costs and attorneys’ fees.

   Dated: January 20, 2022

   Respectfully submitted,

   s/ Russell S. Thompson, IV                       s/ Brent D. Hitson
   Russell S. Thompson, IV                          Brent D. Hitson
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                                                    Attorneys for Defendant



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                             CERTIFICATE OF SERVICE

         I certify that on January 20, 2022, I filed the foregoing document with the Court

   using CM/ECF, which will send notification to Defendant through counsel of record as

   follows:

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                                                 s/ Russell S. Thompson, IV
                                                 Russell S. Thompson, IV




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